Dear Secretary Carnahan:
This opinion letter responds to your request dated November 30, 2011, for our review under § 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by Theodis Brown.
We conclude that the petition must be rejected for at least the following reasons:
  1. The petition is not in the form prescribed by § 116.040, RSMo.
  2. The petition does not contain "all matter which is to be deleted included in its proper place enclosed in brackets and all new matter shown underlined" as required pursuant to § 116.050, RSMo.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to § 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
  Very truly yours, CHRIS KOSTER Attorney General *Page 1 